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     IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                               PENNSYLVANIA

UNITED STATES OF AMERICA,                    )
                                             )      Criminal No.: 17-192
v.                                           )
                                             )
AKINTAYO BOLORUNDURO                         )

        Defendant.                           )


       AMENDED DEFENDANT’S POSITION WITH RESPECT TO SENTENCING
                              FACTORS

AND NOW comes Counsel for Defendant, David J. DeFazio, and respectfully files the following
Defendant’s Position with Respect to Sentencing Factors

1. Counsel for Defendant has received and reviewed Presentence Investigation Report (PIR)
prepared for Akintayo Bolorunduro by United States Probation Officer Rick Gama, and has
reviewed the contents of said PIR with the Defendant.

2. Counsel for Defendant hereby states that it has no objections to the Report, except in regards
to Paragraph 41. The conduct charge in the present indictment occurred before Mr. Bolorunduro
went on probation. Therefore, the additional two criminal history points do not apply.

3. Counsel for the Defendant reserves the right to file a memorandum in aid of sentencing
pursuant to the dates set forth by the Court.

Respectfully submitted,

/s/ David J. DeFazio
DAVID J. DEFAZIO, ESQUIRE
3945 Forbes Ave, #437
Pittsburgh, PA 15213
412-261-1700
ddefazio@law-defazio.com
 PA ID 40989
